                                                                          DISTRICT COURT OF GUAM
                                                                             IJAW 20 2006qf'
                                                                           MARY L.M. MOWN
                                                                           CLERK OF COURT


                                       DISTRICT COURT OF GUAM
                                         TERRITORY OF GUAM




 ROLAND M. ABISIA,                                                        Criminal Case No. 96-00089
     Defendant-Petitioner,                                                Civil Case No. 05-00041
                             VS.
 UNITED STATES OF AMERICA,                                                            ORDER
     Plaintiff-Respondent.

         Petitioner Roland M. Abisia ("Abisa") filed a petition' on December 27, 2005. The Court
notes that it recently dismissed a Motion to Vacate, Set Aside or Correct Sentence by a Person in
Federal Custody pursuant to 28 U.S.C. § 2255 that was previously filed by A b i ~ i a .Abisia
                                                                                       ~      now
seeks habeas relief under       $9 2241,     1651 and 2255 alleging that his conviction and sentence are
invalid because he was subject to ineffective assistance of counsel. Further, Abisa asserts that he
was coerced into entering a plea in order to avoid his wife being prosecuted.3




        ' The petition is titled "Petition Pursuant to 28 U.S. C. 3 1651 All Writs Act; 28 U.S.C. fj 2255; 28 U.S.C. 6
2241; Extraordinary Writs Error Coram Nobis Audita Querela" ("Petition"). In addition to said petition Abisa filed a
motion entitled "Motion to Preserve Booker Claim." See Docket Nos. 62 and 63 respectively.

           Abisia's motion was dismissed for lack ofjurisdiction due to his failure to obtain certification from the Ninth
Circuit to file a second or subsequent petition under 28 U.S.C. 5 2255. See Order filed July 7, 2005, Docket No. 61.
The Ninth Circuit subsequently denied Abisa's request to file a second petition in this regard. See Order dated July 15,
2006.

          Upon review of the record in this matter the Court notes that these are the same issues that were raised in his
two previous petitions for relief pursuant to 28 U.S.C. fj 2255. His first petition was denied as it was untimely filed as
required 2255. See Orders filed on April 4 2001, May 8 2 0 0 and July 3 2001. Docket Nos. 51, 53 and 55
respectively. Abisa's second petition was also denied as mentioned above See footnote 2.


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Abisa's petitions are not p r o ~ e r l yb r o u ~ h under
                                                     t     28 U.S.C. 6 2241.
       A federal habeas prisoner authorized to seek relief under 28 U.S.C. 5 2255 may not petition
for relief under 28 U.S.C. 5 2241 unless it appears that the 5 2255 motion is inadequate or ineffective
to test the legality of the prisoner's detention. See Moore v. Reno, 185 F.3d 1054, 1055 (9thCir.
1999)(per curiam) (rejecting contention that 5 2255 is inadequate or ineffective merely because the
prisoner's 2255 motion might be second or successive). Abisa has failed to make such a contention
with respect to the adequacy of 5 2255. The Court finds that despite the denial of Abisa's previous
petitions, tj 2255 still remains an adequate and effective remedy to test the legality of Abisa's
detention.
Abisa's claims are not co~nizableas a either writ of corim nobis or audita querela.
        Writs of corim nobis and audita querela are only available to the extent that they fill "gaps"
in the current system of post-conviction relief. United States v. Valdez-Pacheco 237 F. 3d 1077 (9th
Cir. 2001). Writs of corim nobis and auditu querela are a valid form of collateral attack apart from
and in addition to   5 2255 proceedings.   See. United States v. Morgan, 346 U.S. 502,74 S. Ct. 247
(1954) (citing Unitedstates v. Hayman, 342 U.S. 205,219,72 S.Ct. 263,272). However, "a federal
prisoner may not challenge a conviction or sentence by way of a petition for a writ of audita querela
[and by extension corim nobis] when that challenge is cognizable under         5 2255 because, in such a
case, there is no 'gap' to fill in the postconviction remedies." Valdez-Pacheco 237 F. 3d at 1080.
Writs of corim nobis and audita querela are a form of collateral review that is an extraordinary
remedy to be employed by the courts "only under circumstances compelling such action to achieve
justice." Morgan, 346 U.S. at 51 1. Due to the nature of the allegations and the type of relief
requested, Abisia's petition is more properly brought under 5 2255. Additionally the court finds that
Abisa has failed provide sufficient facts that would compel the court to utilize such an extraordinary
remedy in order to "achieve justice."
Availability of claims under 28 U.S.C. 5 2255.
        28 U.S.C.     5   2255 allows persons in federal custody to collaterally challenge the
constitutionality, legality or jurisdictional basis of the sentence imposed by a court. See, United
States v. Addonizio, 442 U.S. 178, 185, 99 S.Ct. 2235,2240 (1979). The Court notes that Abisa's


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petition is more properly brought pursuant to 28 U.S.C.            5 2255 as Abisa is attempting to attack the
validity of his conviction and sentence, not its execution. Likewise, Abisa's motion pursuant to
UnitedStates v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005) is also more appropriately considered
a petition under tj 2255. However, the instant matters constitute Abisa's third and fourth petitions
for   5 2255 habeas relief. Abisa has yet to receive certification from the Ninth Circuit to file a
successive motion pursuant to 28 U.S.C. §§ 2244(b)(2) and 2255. As such, this Court lacks
jurisdiction to consider the present petition^.^ Accordingly, Abisa's petitions for relief pursuant to
28 U.S.C. tj 2255 are hereby DISMISSED.


         SO ORDERED this                       of January, 2006.




           Even if the Court had jurisdiction to consider Abisa's Booker claim, Abisa's case was final on November 4,
1998 when the Ninth Circuit upheld his conviction after his direct appeal. Since Abisa's claim was final when Booker
was decided, Booker is applicable only if it applies retroactively to cases on collateral review. All federal courts
including theNinth Circuit Court ofAppeals, addressing this same issue of retroactive application have held Booker does
not apply retroactively to cases on collateral review. See, UnitedStates v. Cruz, 423 F.3d 1119 (YhCir. 2005); Green
v. United States, 397 F.3d 101 (2"*Cir. 2005); Guzman v. United States, 404 F . 3d 139 (2ndCir. 2005); Humphress v.
UnitedStates, 398 F.3d 855 (6'h Cir. 2005); McReynolds v. UnitedStates, 397 F . 3d 479 (7"' Cir. 2005): In re Anderson,
396 F. 3d 1336 (1 lthCir. 2005); Varela v. UnitedStates, 400 F. 3d 864 (1 l t hCir. 2005); Tuttamore v. UnitedStates,
2005 W L 234368 (N.D. Ohio, 2005). Accordingly, Abisa's Booker claim is without merit and must be denied.

         *   The Honorable Donald W. Molloy, United States Chief District Judge for Montana, by designation



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